             IN THE UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF MISSOURI
                         WESTERN DIVISION
United States of America,                       )
                                  Plaintiff,    )
vs.                                             ) Case No. 10-0162-06-CR-W-FJG
                                                )
Naricco T. Scott,                               )
                                   Defendant.   )

                                         ORDER
      Pending before the Court is defendant’s Motion to Suppress (Doc. No. 451).
      On January 6, 2012, United States Magistrate Judge Robert E. Larsen entered a
report and recommendation which recommended denying defendant’s motion to suppress.
On January 20, 2012, defendant filed objections to the Report and Recommendation.
      The Court, after independent review of the record and applicable law, adopts and
incorporates by reference herein, the magistrate’s findings and conclusions. Therefore, the
Court finds that defendant’s motion to suppress (Doc. No. 451) will be DENIED.


                                                /s/Fernando J. Gaitan, Jr.
                                                Fernando J. Gaitan, Jr.
                                                Chief United States District Judge
Dated: February 6, 2012
Kansas City, Missouri




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